Gustave J. LABARRE, Jr., Ramona H. Talbot, Howard J. Dupre, III, Gail D. Boudreaux, Floyd A. LaBarre, Marlene L. Folse, Cheryl D. Daigle, Henry R. Lawes, Jr., Sidney J. Hernandez, June D. Bouchereau, Louis P. LeBlanc, Jr., Pierre F. V. DeLaBarre, IV, Mary G. DeLaBarre, Katherine D. LaBarre, Andre F. V. DeLaBarre, Gilbert J. Dupre, Jr., Grant J. Dupre, Grantlyn D. Wheeler, Elena R. LeBlanc, Helen H. Shaw, Anita H. Williams, Gertrude L. Landry, Lydia L. Shavers, Merrill L. Cornay, Harry J. Simoneaux, Sr., Harry J. Simoneaux, Jr., Amy Simoneaux, Lyle T. Simoneaux, Joie A. Simoneaux, Simone S. Lawson, Christopher A. Simoneaux, Gregory J. Dupre, Augusta L. Riffert, Albert H. LeBlanc, Jr., Maria Carmen DeLaBarre, Lizarraga Enterprises, LLC v. TEXAS BRINE COMPANY, LLC and Georgia Gulf Chemical &amp; Vinyls, LLCDenied.